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                     Exhibit J
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                                                                                                                                Full Paper



      Poly(ethyleneimine)-Mediated Large-Scale
      Transient Gene Expression: Influence
      of Molecular Weight, Polydispersity and
      N-Propionyl Groups

      Zuzana Kadlecova,a Sophie Nallet,a David L. Hacker, Lucia Baldi,
      Harm-Anton Klok, Florian M. Wurm*


      Three synthesis lots of linear poly(ethyleneimine) (PEI) are compared to a fully hydrolyzed linear
      PEI (commercially available as PEI ‘‘Max’’) regarding structure, polyplex formation with plasmid
      DNA, and transfection of suspension-adapted HEK-293E cells. PEI ‘‘Max’’ binds DNA more
      efficiently than the other PEIs, but it is the least effective in terms of transient recombinant
      protein yield. One PEI lot is fractionated
      by means of SEC. The fractions of high-Mn
      PEI are the most efficient for complex
      formation and transfection. Nevertheless,
      the highest transient recombinant
      protein yields are achieved with unfrac-
      tionated PEI. The results demonstrate that
      the polydispersity and charge density of
      linear PEI are important parameters
      for gene delivery to suspension-adapted
      HEK-293E cells.



      1. Introduction                                                               transfer and are considered as alternatives to viral vectors
                                                                                    for some applications.[1,2] PEI is widely-used because of its
      Polycations, especially poly(ethyleneimine) (PEI), have                       efficacy, commercial availability, ease of preparation, and
      proven to be efficient agents for in vitro and in vivo gene                   cost-effectiveness.[3] One of the main applications of PEI-
                                                                                    mediated gene transfer is recombinant protein production
           Z. Kadlecova, H.-A. Klok                                                 via large-scale transient gene expression (TGE) in suspen-
           Laboratoire des Polymères, Institut des Matériaux et Institut des      sion cultures of mammalian cells.[4] In contrast to stable
           Sciences et Ingénieries Chimiques, Ecole Polytechnique Fédérale       gene expression (SGE), TGE refers to the introduction of a
           de Lausanne, CH-1015 Lausanne, Switzerland                               foreign gene (transgene) into the cell without its stable
           S. Nallet, D. L. Hacker, L. Baldi, F. M. Wurm                            integration within the cell’s genome.[5] TGE is used for the
           Laboratory of Cellular Biotechnology, Institute of Bioengineering,       production of milligram to gram quantities of a single
           School of Life Sciences, Ecole Polytechnique Fédérale de Lausanne,     protein and for the parallel expression of multiple proteins
           EPFL SV-IBI-LBTC, Room CH J2-506, Station 6, CH-1015 Lausanne,
                                                                                    or multiple variants of a single protein in drug candidate
           Switzerland
                                                                                    screening campaigns.[3,6–9] Moreover, TGE permits the
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                                                                                    production of proteins that would otherwise impair cell
      a
          These authors contributed equally to this work.                           viability when expressed constitutively from a stable cell

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line.[10] TGE may also be considered as an alternative                              sequence and the percentage of non-protonable residues
method for the production of low-dose proteins such as                              containing N-propionyl side groups determine the overall
vaccines.[11,12] To this end, we have demonstrated the                              charge density of linear PEI.[20] In turn, the charge density
feasibility of large-scale TGE for the production of the fusion                     and buffering capacity of PEI influence its capacity to form a
protein from respiratory syncytial virus (RSV-F).[11] Other                         complex with double-stranded plasmid DNA (pDNA) and its
candidate vaccines including human immunodeficiency                                 intracellular trafficking.[21,22] To date, studies of the effect of
virus 1 envelope glycoprotein and Rift Valley Fever virus-                          linear PEI’s N-propionyl side groups on transfection yields
like particles have been produced by PEI-mediated                                   have produced contradictory results.[22–25] Some studies
TGE.[12,13] The further development of TGE requires a better                        have shown that the transfection efficiency increases with
understanding of the structure-activity relationship of PEI                         the degree of hydrolysis of poly(2-ethyl-2-oxazoline) and
and of its fate in TGE bioprocesses, especially if it is to be                      that the highest level of gene expression is obtained with
applied to commercial protein production using current                              deacetylated PEI.[23,24] Others have observed a higher level of
good manufacturing practices (cGMP).[14]                                            gene expression after transfection with partially acetylated
   Although both linear and branched forms of PEI are                               PEI as compared with deacetylated PEI.[25] pDNA binding
commercially available, the more efficient structural                               studies revealed that the partially acetylated PEI interacted
variant for large-scale TGE is linear PEI with a reported                           more weakly with pDNA than did deacetylated PEI.[25] The
molecular weight of 25 kg  mol1.[15] The challenge of                             studies mentioned above describe transfections of adherent
employing synthetic polycations such as PEI for TGE lies in                         cells in serum-containing media. These factors may influence
their intrinsic molecular heterogeneity.[16] Despite the                            PEI-DNA complex strength and uptake by the cells. Clearly,
obvious benefits of linear PEI for efficient DNA delivery,[17]                      the structural modification of PEI with short hydrophobic
relatively little is known about the impact of its structural                       moieties alters pDNA binding and transfection efficacy, but
variations and polydispersity on transfection efficiency and                        it has been difficult to draw precise conclusions on the specific
protein yield in a TGE process. Linear PEI is synthesized by                        effects of short alkyl chains on gene delivery.[26]
the cationic ring-opening polymerization of 2-substituted                               In this study, the impact of linear PEI’s N-propionyl side
oxazolines such as 2-ethyloxazoline (Figure 1A).[18] The                            groups, number-average molecular weight (Mn ), and
resulting poly(2-ethyloxazoline) is subsequently hydro-                             polydispersity index (PDI) on transfection efficiency
lyzed by an excess of hydrochloric acid to remove the N-                            and recombinant protein yield was determined. We also
propionyl units (Figure 1A).[19] The final structure of PEI                         investigated the fate of linear PEI in a TGE bioprocess to
monomers is thus dependent on the kinetics and efficiency                           begin to address the feasibility of its use for recombinant
of the acidic hydrolysis of poly(2-ethyloxazoline) through                          therapeutic protein production under cGMP conditions. To
precise control over the reaction conditions. The monomer                           develop a cGMP bioprocess for PEI-mediated TGE it will be
                                                                                                         necessary to understand how the hetero-
                                                                                                         geneity and batch-to-batch variation of
                                                                                                         PEI affect yield and reproducibility. It will
                                                                                                         also be important to prove to regulatory
                                                                                                         agencies that PEI is absent from the final
                                                                                                         protein product. To the best of our knowl-
                                                                                                         edge this is the first investigation focused
                                                                                                         on the distribution of linear PEI and the
                                                                                                         effect of its molecular weight, PDI, and
                                                                                                         charge density on recombinant protein
                                                                                                         yield in an industrially relevant TGE
                                                                                                         process.



                                                                                                        2. Experimental Section
                                                                                                        2.1. Materials

                                                                                                        Unless stated otherwise, all chemicals and
                                                                                                        reagents were purchased from commercial
                                                                                                        suppliers and used as received. Three different
   Figure 1. Synthesis of linear PEI (A) and its structural analysis (B, C). Schematic diagram          synthesis lots of linear PEI with a reported
   of the acid hydrolysis of N-propionyl side units in PEI (A). Analysis of PEI by two-                 molecular weight of 25 kg  mol1 were pur-
   dimensional 1H-13C-HSQC NMR spectroscopy (B) and by 1H NMR spectroscopy (C).                         chased as powders (Polysciences, Eppenheim,


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      Germany; Cat. No. 239666) and designated PEI1 (Lot No. 579115),         2.5. Molecular Weight Determination
      PEI2 (Lot No. 579116), and PEI3 (Lot No. 593215). PEI ‘‘Max’’ was
      purchased as a powder (Polysciences; Cat. No. 24765; Lot No.            The weight-average molecular weight (Mw ), Mn , and PDI (Mw =Mn )
      594467). Deionized (DI) water was obtained from an Arium1pro DI         were determined by SEC in combination with multi-angle laser
                                                                              light scattering (SEC-MALLS) using the Waters Breeze chromato-
      Ultrapure Water System (Sartorius-Stedim Biotech GmbH, Göttin-
      gen, Germany). All PEI samples were dissolved in DI water at            graphic system (Waters, Milford, MA) equipped with a differential
      1 mg  mL1 and pH ¼ 7 (adjusted with 0.1 M HCl). Deuterium oxide       refractive-index (RI) detector (880 nm; Waters) and a triple-angle
      (D2O), ethidium bromide (EtBr), 5(6)-carboxyfluorescein N-hydro-        laser light scattering detector (miniDAWNTM TREOS, laser 658 nm,
                                                                              K5 cell; Wyatt Technologies Europe GmbH, Dernbach, Germany).
      xysuccinimide ester (FL-NHS), Float-A-Lyzer G2 (molecular-weight
      cut-off 0.5 kg  mol1), DABCO mounting medium, and Ex-cell293TM        Light scattering data were evaluated using Astra 5.3.2.15 software.
      medium were obtained from Sigma-Aldrich (Buchs, Switzerland).           Samples of PEI were dissolved in 0.1 M NaCl with 0.1 wt%
                                                                              trifluoroacetic acid (TFA) at a concentration of 3 mg  mL1. SEC
      N,N-Dimethylformamide (DMF) was dried by passage on two
      columns containing molecular sieves using the Pure SolvTM 400           separation was performed on a 7.8 mm  300 mm Novema column
      solvent purification system. Sephadex G75 gel filtration medium         (Polymer Standards Service GmbH, Mainz, Germany) at 35 8C in an
                                                                              eluent of 0.1 M NaCl with 0.1 wt% trifluoroacetic acid at an elution
      was obtained from GE Healthcare (Glattbrugg, Switzerland). RPMI
      1640 medium was obtained from Lonza (Verviers, Belgium).                rate of 1 mL  min1.


                                                                              2.6. Dynamic Light Scattering (DLS)
      2.2. Plasmids
                                                                              Size determination of PEI/DNA complexes was performed by DLS.
      The dual expression vector pXLGCHO-A2 for the production of a           The complexes were formed by diluting 10 mg pXLGCHO-A2 in 2 mL
      human anti-Rhesus D IgG1 antibody was constructed as described          RPMI 1640 medium. PEI was then added at the desired N:P ratio. The
      for pXLGCHO-A3[27] except that the expression cassettes for the light   solutions were gently mixed and allowed to stand for 5 min before
      and heavy chain genes were in a head-to-tail rather than a head-to-     measuring. The average diameter of particles was determined
      head orientation. pEGFP-N1 for the expression of the enhanced           using a BI-200SM goniometer and a BI-9000AT autocorrelator
      green fluorescent protein (EGFP) was purchased from Clontech            (Brookhaven Instruments, Worcestershire, UK) equipped with a
      (Palo Alto, CA). Plasmid DNA was purified on Nucleobond AX anion        100 mW Arþ ion laser operating at 488 nm (Lexel Lasers, Fremont,
      exchange columns (Macherey-Nagel, Düren, Germany) according            CA, USA). Measurements were performed at 25 8C at a scattering
      to the manufacturer’s instructions.                                     angle of 908. Average particle size was analyzed according to the
                                                                              CONTIN method.[28] Every sample was measured eight times. Data
                                                                              were collected over 30 s and the results were averaged.
      2.3. Fractionation of PEI by Size Exclusion
      Chromatography (SEC)
                                                                              2.7. EtBr Displacement Assay
      PEI1 was fractionated using SEC with Sephadex G75 gel filtration
      medium and 0.1 M ammonium acetate aqueous solution (pH ¼ 5)             The binding of PEI to plasmid DNA was assessed by a fluorescence
      as the mobile phase. PEI1 was dissolved at a concentration of           assay using EtBr as a probe. pXLGCHO-A2 (25 mg  mL1) and EtBr
      2 mg  mL1 in aqueous 0.1 M ammonium acetate and applied to the        (1 mg  mL1) in RPMI 1640 were mixed in a black 96-well plate
      column in a total quantity of 50 mL. Fractions of 10 mL were            (Greiner Bio-One GmbH, Frickenhausen, Germany), and PEI in
      collected and desalted by overnight dialysis against 0.01 M HCl in DI   solution was added at defined concentrations to form complexes at
      water using Float-A-Lyzer G2. Ten fractions were collected and          the desired N:P ratios. Each sample of 100 mL was incubated for
      freeze dried after dialysis. For experiments, dried fractions were      5 min at room temperature (RT) before fluorescence was measured
      dissolved in DI water at a concentration of 1 mg  mL1 and pH ¼ 7.     at lex ¼ 530 nm and lem ¼ 600 nm with a 10 nm bandwidth.
                                                                              The relative fluorescence values were calculated using the
                                                                              equation (F  F0)/(FDNA  F0) where F0 corresponds to the back-
                                                                              ground fluorescence of EtBr in aqueous solution, FDNA refers to the
      2.4. NMR Spectroscopy                                                   fluorescence of EtBr in the presence of pDNA, and F is the measured
                                                                              value of EtBr fluorescence in the presence of the PEI-DNA complex.
      Two-dimensional 1H-13C Heteronuclear single quantum coherence
                                                                              Each data point represents the average of 3 measurements.
      (HSQC) spectra were recorded with 40 mg  mL1 PEI in D2O on a
                                                                              The data were presented as a heat map created using HeatMap
      DRX-600 spectrometer (Bruker BioSpin AG, Fallanden, Switzer-
                                                                              Builder 1.0.[29]
      land). One-dimensional 1H NMR spectra were recorded with
      20 mg  mL1 of PEI in D2O on an Avance-400 spectrometer (Bruker
      BioSpin AG). Prior to NMR analysis all samples were desalted
                                                                              2.8. Cell Culture and Transfection
      by dialysis against DI water using Float-A-Lyzer G2. Spectra
      were analyzed with the NMR data processing software TopSpin             Suspension-adapted human embryonic kidney (HEK-293E) cells
      (Bruker BioSpin AG). The content of N-propionyl side groups was         were routinely grown in orbitally shaken, square-shaped glass
      determined by calculating the ratio of the integral values assigned     bottles (Schott Glass, Mainz, Germany) in Ex-cell293TM medium
      to the peaks of the 5 H atoms belonging to the N-propionyl groups       supplemented with 4  103 M glutamine (Applichem, Darmstadt,
      (d ¼ 0.8–2.7) and 4 H atoms of the ethyleneimine units (d ¼ 2.8–4.0).   Germany). Cells were maintained in an incubator shaker at 37 8C in


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5% CO2 with agitation at 110 rpm as described.[30] Cell density was                 of 7 nm. The validation of the assay was performed by determining
measured by manual counting on a heamocytometer using the                           the limit of detection (LOD) and the limit of quantification (LOQ) for
Trypan blue exclusion method. One day prior to transfection, the                    PEI-FL in different media according to the procedure described
cells were seeded at a density of 1  106 cells  mL1 in Ex-cell293TM.             by MacDougall et al.[32] The PEI-FL concentration was always
Transfections were performed in 50-mL TubeSpin bioreactor                           expressed relative to the final volume (10 mL) of the culture.
50 tubes (TubeSpin) (TPP, Trasadingen, Switzerland) in a final volume
of 10 mL. On the day of transfection, cells were centrifuged and                    2.11.2. Quantification of pDNA
resuspended at a density of 2  107 cells  mL1 in 0.5 mL of RPMI                  Cells were transfected as described above except with PEI instead of
1640 supplemented with 0.1% Pluronic F68 (Applichem). Cells were                    PEI-FL. At various times post-transfection, an aliquot of culture
co-transfected at an N:P ratio of 25 by subsequent addition of                      containing 106 cells was transferred to an Eppendorf tube and
12.5 mg [2 wt% pEGFP-N1 and 98 wt% pXLGCHO-A2] and 40 mg of PEI                     centrifuged. The CCM was transferred to a separate tube and
to the culture unless otherwise stated. The cultures were maintained                analyzed for pDNA by real-time quantitative PCR (RT-qPCR) as
in an incubator shaker at 37 8C in an atmosphere with 5% CO2                        described below. The cell pellet was washed with phosphate-
and 85% humidity with agitation at 180 rpm. After 3 h, 9.5 mL of                    buffered saline (PBS), and total DNA was isolated from the washed
Ex-cell293TM were added and the culture was incubated as before.                    cells using the DNeasy Blood and Tissue kit (Qiagen, Hombrechti-
                                                                                    kon, Switzerland) according to the manufacturer’s instructions. RT-
                                                                                    qPCR was performed using the Absolute qPCR SYBR green ROX mix
2.9. Recombinant Protein Quantification
                                                                                    (ABgene UK, Epsom, UK) in MicroAmpTM optical 96-well reaction
At 2 d post-transfection, the percentage of cells expressing EGFP                   plates (Applied Biosystems, Foster City, USA) on an ABI Prism 7700
was determined by flow cytometry using the Guava EasyCyte                           thermal cycler (Applied Biosystems). CCM and total cellular DNA
(Millipore, Zug, Switzerland). At 5 d post-transfection, the cell                   preparations were diluted 400 and 100, respectively, with high
culture medium (CCM) containing recombinant IgG was collected                       purity water before RT-qPCR. A standard curve was made by
by centrifugation, and the IgG concentration was determined by                      sequential dilution of pXLGCHO-A2 in DI water (for cell-associated
sandwich enzyme-linked immunosorbent assay (ELISA) as pre-                          pDNA) or in CCM diluted 400 with DI water (for CCM-associated
viously described.[31]                                                              pDNA). RT-qPCR mixes were prepared according to the manufac-
                                                                                    turer’s protocol. The following oligonucleotide primers were used:
                                                                                    50 -tgtcttcatcttcccgcca-30 (forward) and 50 -gcgttatccaccttccactgt-30
2.10. Synthesis of PEI-Fluorescein                                                  (reverse). The following thermal cycling program was used:
                                                                                    preheating at 95 8C for 5 min, 35 cycles at 95 8C for 15 s, 59 8C for
PEI2 (0.6 g) was dissolved in 10 mL of methanol and mixed with
                                                                                    30 s, and 72 8C for 45 s. For each sample, 4 measurements were
50 mg of FL-NHS dissolved in 1 mL DMF and stirred at RT for 3 h. The
                                                                                    performed on 2 independent plates.
solvents were evaporated, and the PEI-fluorescein (PEI-FL) was
dissolved in 10 mL methanol, precipitated once with diethyl ether,
and sedimented by centrifugation at 8000 rpm for 1 h at 4 8C. PEI-FL
was purified by 5 consecutive precipitations in cold 5 M KOH. The
                                                                                    2.12. Confocal Microscopy
precipitate was redissolved in DI water and dialyzed against DI                     Images were acquired on a Leica SP2 motorized inverted confocal
water as described above. PEI-FL was lyophilized and then dissolved                 laser scanning microscope (Leica Microsystems GmbH, Wetzlar,
in DI water at 1 mg  mL1 and pH ¼ 7. The absence of free FL in                    Germany) and processed using Imaris software (Bitplane, Zurich,
PEI-FL was confirmed by agarose gel electrophoresis.                                Switzerland). Cells were transfected with PEI-FL as described above.
                                                                                    At various times post-transfection, 3  106 cells were recovered by
                                                                                    centrifugation, washed with PBS, and fixed in 4% paraformalde-
2.11. Quantification of PEI-FL and pDNA in                                          hyde (Applichem) for 15 min on ice followed by a wash with PBS.
Transfected Cell Cultures                                                           The plasma membrane was stained with wheat germ agglutinin
                                                                                    conjugated to Alexa Fluor 633 (Invitrogen AG, Basel Switzerland).
                                                                                    Nuclei were stained with 40 ,6-diamidino-2-phenylindole dihy-
2.11.1. Quantification of PEI-FL
                                                                                    drochloride (DAPI, BioConcept, Basel, Switzerland) for 1 min. The
HEK-293E cells were transfected as described above but with                         stained cells were washed with PBS and mounted with 4 mL of
12.5 mg of pXLGCHO-A2 and 40 mg PEI-FL. At various times after                      DABCO mounting medium using 0.17 mm thick cover glasses
transfection, an aliquot of the culture was collected. Part of the                  (Assistent, Sondheim, Germany).
sample was transferred to an Eppendorf tube and centrifuged, and
the CCM and cell pellet were treated separately. The CCM samples
and the cell culture samples (CCM plus cells) were treated with one                 3. Results and Discussion
volume of 5 M NaCl to disassociate polyplexes in order to prevent
the quenching of PEI-FL fluorescence. Standard calibration curves of                3.1. Structural Characterization and Batch-to-Batch
PEI-FL in solution were generated under the same conditions as                      Variation of Linear PEI
the samples. The specific fluorescence of PEI-FL in solution was
measured in black 96-well plates (Greiner Bio-One GmbH) with                        The Mn and PDI of linear PEI originating from three different
samples of 200 mL using a spectrofluorometer (Tecan, Mannedorf,                     synthesis lots (PEI1, PEI2, and PEI3) and of PEI ‘‘Max’’ were
Switzerland) at lem ¼ 494 nm and lex ¼ 520 nm with a bandwidth                      determined by SEC-MALLS. For the four different samples,


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           Table 1. Characterization of different linear PEIs.

           Sample                      Mn a)                     PDIa)            N-Propionyl                     EGFP-positive                      IgG titerd)
                                    [kg  mol1]                                   unitsb) [%]                      cellsc) [%]                       [mg  L1]

           PEI1                          6.0                      1.8                   15                              79  1                         49  4
           PEI2                          7.4                      1.9                    7                              80  2                         42  12
           PEI3                          6.2                      1.9                    4                              72  2                         47  3
           PEI ‘‘Max’’                   6.6                      2.4                    0                              64  2                         37  1

      a)
       Determined by SEC-MALLS in aqueous 0.1% TFA; b)Relative ratio of N-propionyl units obtained by integrating respective signal of
      1
       H NMR spectra; c)Measured by flow cytometry at 2 d post-transfection; d)Measured by means of ELISA at 5 d post-transfection.



      the Mn measured by SEC-MALLS ranged from 6.0 to                              measuring the size of PEI/DNA complexes in CCM by DLS.
      7.4 kg  mol1 (Table 1). The PDI of the three PEI synthesis                 For all PEI samples tested, the size of the polyplexes
      lots varied from 1.8 to 1.9 while the PDI of PEI ‘‘Max’’ was                 increased with the N:P ratio, and at the N:P ratio used for
      higher (Table 1). The proton and carbon assignments of PEI                   transfection (N:P 25), the polyplexes were approximately
      were determined by two-dimensional 1H-13C HSQC                               450 nm in average diameter (Figure 2B). This N:P ratio was
      (Figure 1B). Signals obtained by one-dimensional                             the most effective for transfection of HEK-293E cells with
      1
        H NMR, identified by crosspeaks in two-dimensional                         PEI according to previously published results.[11] In conclu-
      1
        H-13C HSQC, were assigned either to protons of the N-                      sion, we did not observe a dependency of polyplex size on
      propionyl units or the ethyleneimine units (Figure 1C). The                  the charge density of PEI at the N:P ratio tested.
      1
        H NMR spectrum of PEI exhibited signals at d ¼ 1.05 and                       To determine the transfection efficiency of the different
      2.43 corresponding to the CH3 and CH2 protons of the                      PEI samples, suspension-adapted HEK-293E cells were
      N-propionyl units, respectively (Figure 1C). Based on the                    transfected with pXLGCHO-A2 and pEGFP-N1 at an N:P ratio
      ratio of the intensity of the CH3 signal to the CH2CH2                   of 25. Transfection with PEI1, having the highest percentage
      signal of the ethylenimine units (d ¼ 3.4), the percentage of                of N-propionyl units (15%), resulted in 23% more EGFP-
      PEI monomer units containing N-propionyl side units was                      positive cells and 32% more recombinant IgG produced as
      determined.[22,24] The different synthesis lots of linear PEI                compared to the transfection with PEI ‘‘Max’’ (Table 1). PEI2
      varied from 4 to 15% in N-propionyl units (Table 1). As                      and PEI3 with 7% and 4% N-propionyl groups, respectively,
      expected, N-propionyl units were not found in PEI ‘‘Max’’, a                 were also more efficient in transfection than PEI ‘‘Max’’
      fully hydrolyzed linear PEI (Table 1).                                       (Table 1). Based on these results, we conclude that the
                                                                                   presence of N-propionyl units improves transfection
                                                                                   efficiency of PEI even if it decreases the ability of PEI to
      3.2. Effect of N-Propionyl Units of PEI on Polyplex
                                                                                   bind to DNA. PEI ‘‘Max’’, which is devoid of N-propionyl side
      Formation and Transfection Efficiency
      The efficiency of PEI-DNA complex for-
      mation is expected to be dependent on
      the charge density of PEI as well as its
      molecular weight.[17,25,33–36] We investi-
      gated the interaction of PEI with pDNA
      using an EtBr displacement assay.
      Increasing amounts of PEI were mixed
      with a fixed amount of EtBr bound to
      pDNA. The displacement of EtBr from
      pDNA upon PEI binding resulted in a
      decrease in EtBr-specific fluorescence in                  Figure 2. Analysis of PEI/DNA complexes formed with PEI originating from different
      solution. PEI ‘‘Max’’ demonstrated the                     synthesis lots (PEI1 &, PEI2 *, PEI3 ~) and PEI ‘‘Max’’ (!). (A) Varying amounts of PEI
      most efficient displacement of EtBr from                   were added to constant amounts of EtBr and pXLGCHO-A2 to achieve the N:P ratios
                                                                 indicated. The relative level of complexation was determined from the EtBr-specific
      pDNA in comparison to the three lots of
                                                                 fluorescence. For each data point, three measurements were made and the results were
      PEI (Figure 2A).                                           averaged. (B) Varying amounts of PEI were added to constant amounts of pXLGCHO-A2 to
        We investigated the interaction                          achieve the N:P ratios indicated. The average diameter of polyplexes was measured by
      between PEI and pDNA further by                            DLS. For each sample, 8 measurements of 30 s were performed.


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     Table 2. Characterization of fractionated PEI1.                                   The ability of the PEI fractions to bind to pDNA was
                                                                                    measured using the EtBr displacement assay. PEI1 and
     Polymer            M n a)              PDIa)         N-Ppropionyl              fractions PEIF1 to PEIF4 were able to displace all the EtBr from
     fraction        [kg  mol1]                          unitsb) [%]              pDNA at N:P ratios of 3 or more (Figure 3A). In contrast,
                                                                                    fractions PEIF5 to PEIF10 required N:P ratios of 5 or more to
     PEIF1                25.7               1.1                 15
                                                                                    displace all the EtBr (Figure 3A). The size of polyplexes
     PEIF2                15.0               1.2                 15                 formed by the PEI fractions and PEI1 at an N:P ratio of 25 was
     PEIF3                11.3               1.1                 15                 measured by DLS. For PEI1, the average diameter of the
     PEIF4                  8.3              1.1                 15                 polyplexes was about 400 nm (Figure 3B). For polyplexes
     PEIF5                  6.6              1.1                 14                 formed with the PEI fractions, the average diameter
     PEIF6                  5.3              1.1                 15                 increased with Mn but was always less than that of
                                                                                    polyplexes formed with PEI1 (Figure 3B).
     PEIF7                  4.3              1.1                 14
                                                                                       Transfections with fractions PEIF1 to PEIF4, having Mn
     PEIF8                  3.5              1.1                 14                 values ranging from 8–26 kg  mol1, resulted in higher
     PEIF9                  2.9              1.1                 13                 percentages of EGFP-positive cells and volumetric IgG yields
     PEIF10                 2.2              1.1                 13                 than did transfections with fractions PEIF5 to PEIF10, having
     PEI1                   6.0              1.8                 15                 Mn values of 2–7 kg  mol1 (Figure 4). Importantly, all of the
                                                                                    individual fractions were less effective for transfection than
a)
 Determined by means of SEC-MALLS in aqueous 0.1% TFA;                              unfractionated PEI1 (Figure 4). The transfection with PEI1
b)
  Relative ratio of N-propionyl units obtained by integrating                       (Mn 6.0 kg  mol1; PDI 1.8) resulted in a 2-fold higher
respective signals of 1H NMR spectra.                                               percentage of EGFP-positive cells and a 7-fold higher IgG
                                                                                    yield as compared to the transfection with PEIF5 which had a
                                                                                    similar Mn (6.6 kg  mol1) but a lower PDI (1.1) than PEI1
chains, was the most efficient PEI for the displacement of                          (Figure 4).
EtBr from pDNA but the least efficient for transfection of                             In summary, the high Mn fractions (PEIF1 to PEIF4) were
HEK-293E cells in suspension. We conclude that the                                  more active in transfection, more efficient in pDNA binding,
transfection efficiency of commercial PEI cannot be based                           and formed larger polyplexes with pDNA than did fractions
solely on its ability to self-assemble with pDNA. However, it                       PEIF5 to PEIF10. The high Mn PEI fractions may be considered
should be noted that the transfection method employed                               to be the most active components of PEI1. However, they
here omitted PEI-DNA precomplex formation. PEI (in excess)                          were not as efficient as unfractionated PEI1 for transfection.
and pDNA were instead added directly to a high cell density                         Interestingly, the PDI of each individual fraction was
culture. It would be of interest to analyze polyplex                                considerably lower than that of PEI1. This suggested that
formation in the same conditions used
for transfection.


3.3. Effect of PEI Molecular Weight
and Polydispersity on Polyplex
Formation and Transfection
Efficiency
It is generally accepted that Mn and
molecular weight distribution influence
pDNA complexation and transfection
efficiency of various polycations includ-
ing linear PEI.[37–41] To determine the
contributions of PEI’s Mn and PDI to
transfection efficiency, PEI1 was fractio-
nated by SEC into ten fractions (PEIF1                      Figure 3. Impact of the molecular weight of fractions PEIF1-PEIF10 on physico/chemical
to PEIF10) with decreasing Mn from                          properties of complexes with pDNA. (A) Varying amounts of each PEI fraction and PEI1
26 kg  mol1 (PEIF1) to 2 kg  mol1                       were added to constant amounts of EtBr and pXLGCHO-A2 to achieve the N:P ratios
                                                            indicated. The relative level of complexation with pDNA was determined from the EtBr-
(PEIF10). For the fractions, the PDI was
                                                            specific fluorescence. For each data point, three measurements were made and the
1.1–1.2 as compared to 1.8 for PEI1                         results were averaged. (B) The average diameter of polyplexes formed with pXLGCHO-A2
while the N-propionyl content was the                       and each PEI fraction (&) or PEI 1 (~) at an N:P ratio of 25 was measured by DLS. For each
same as that of PEI1 (Table 2).                             sample, 8 measurements of 30 s were performed.


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                                                                                 unlabeled PEI2, HEK-293E cells were transfected in parallel
                                                                                 with pXLGCHO-A2 and pEGFP-N1 using PEI-FL or PEI2.
                                                                                 In both cases, about 70% of the cells were EGFP-positive
                                                                                 at 2 d post-transfection, and the IgG yields were about
                                                                                 140 mg  L1 at 10 d post-transfection. HEK-293E cells were
                                                                                 then transfected with PEI-FL as before. At various times
                                                                                 after transfection, the level of PEI-FL in different fractions
                                                                                 (complete cell culture, CCM, and cells only) was quantified
                                                                                 based on fluorescence intensity relative to a standard
                                                                                 calibration curve. This method allowed reliable and
                                                                                 reproducible detection of PEI-FL at a concentration as low
                                                                                 as 24 ng  mL1 or 4  109 M.
                                                                                    During the first 3 h post-transfection, the amount of PEI-
                                                                                 FL in the CCM decreased while that associated with cells
         Figure 4. Effect of molecular weight of PEI on EGFP expression and      increased (Figure 5A). Most of the cell-associated PEI-FL was
         IgG volumetric yield. EGFP was measured by flow cytometry at 2 d        bound to the cell surface as determined by confocal
         post-transfection with PEIF1-PEIF10 ( ) and PEI1 (&). IgG yield was     microscopy (Figure 6A). After dilution of the culture at
         measured by ELISA at 5 d post-transfection with PEIF1-PEIF10 (!)
         and PEI1 ( ). Each sample was analyzed in duplicate (PEIF1-PEIF10)
                                                                                 3 h post-transfection, the PEI-FL concentration in the CCM
         or triplicate (PEI1).                                                   fraction abruptly increased and then slowly declined with
                                                                                 time (Figure 5A). The increase was explained by a release of
                                                                                 PEI-FL from the cell surface in the presence of the dilution
      PDI is an important parameter for efficient transfection and               medium Ex-cell293TM (Figure 6B). After dilution, the level of
      that the low Mn PEI species in unfractionated PEI1 play an                 cell-associated PEI-FL remained constant (Figure 5A). The
      important accessory role in transfection. Thus, the broad                  overall level of PEI-FL in the culture remained constant until
      molecular weight distribution of PEI1 is seemingly                         about 5 d post-transfection when it started to decline
      advantageous for the transfection of HEK-293E cells.                       (Figure 5A).
      Similarly, it has been demonstrated that a combination                        We determined the fate of transfected pDNA by RT-qPCR.
      of low and high molecular weight PEIs has a higher                         The cells were transfected with unlabeled PEI2 instead of
      transfection efficiency than either species alone.[17] A                   PEI-FL since the excitation and emission wavelengths of FL
      similar observation concerning the benefits of polymer                     overlapped with those of SYBR Green, the fluorophore used
      heterogeneity was made with a structurally perfect                         for DNA detection in RT-qPCR. The amount of pXLGCHO-A2
      polyamidoamine dendrimer. Upon hydrolysis to obtain a                      that was internalized by the cells or which remained in the
      random mixture of lower molecular weight species                           CCM was quantified by RT-qPCR. As expected, the relative
      (commercialized as SuperFect1 Transfection Reagent;                        amount of pXLGCHO-A2 in the CCM rapidly decreased up to
      Qiagen), the transfection efficiency was
      improved 1000-fold compared to the
      parental dendrimer.[41] Although the
      mechanism is not fully understood, it
      has been hypothesized that the residual
      N-propionyl units may contribute to the
      formation of weaker pDNA/PEI com-
      plexes, thus facilitating access of the
      transcription machinery to the transgene
      promoter.[25,42]


      3.4. Distribution of PEI and pDNA in
      a TGE Bioprocess                                       Figure 5. Distribution of PEI-FL and pDNA over time in a TGE process using HEK-293E
                                                             cells. Cells were transfected with pXLGCHO-A2 in the presence of PEI-FL (A) or PEI2 (B). (A)
      To analyze the distribution of linear PEI              At various times after transfection the amount PEI-FL in the CCM ( ), the transfected
      over time in a TGE bioprocess, a quanti-               cells (~), and in the total culture (&) was quantified. In the CCM, the LOD and LOQ were
                                                             1.5  0.002 and 5.4  0.2 ng  mL1, respectively. In cells, the LOD and LOQ were 24  7
      tative method for the detection of PEI
                                                             and 72  3 ng  mL1, respectively. Cell cultures and PEI-FL quantification were performed
      based on its labeling with fluorescein                 in duplicate. (B) At various times after transfection, the amount of pDNA in the CCM ( )
      (PEI-FL) was developed. To determine if                or associated with transfected cells (&) was determined by RT-qPCR on quadruplicate
      PEI-FL was as efficient in DNA delivery as             samples.


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                                                                                    linear PEI. We observed batch-to-batch variations in the Mn ,
                                                                                    polydispersity, and N-propionyl group content of the three
                                                                                    PEI lots, but these differences did not have a measurable
                                                                                    effect on recombinant protein yield in transfections of HEK-
                                                                                    293E cells. However, the transfection yields were higher
                                                                                    than in transfections with PEI ‘‘Max’’, a linear PEI fully
                                                                                    devoid of N-propionyl side groups. Fractionation of linear
                                                                                    PEI by size did not improve TGE yields in comparison to the
                                                                                    original sample having higher polydispersity. Thus, the
                                                                                    polydispersity of linear PEI can be seen as a beneficial
   Figure 6. Analysis of HEK-293E cells transfected with PEI-FL. The                characteristic for TGE. In conclusion, our study has shown
   cells were transfected with preformed complex of PEI-FL-pDNA                     that commercially available linear PEI with its structural
   and analyzed at the time of dilution of the culture with                         heterogeneity and batch-to-batch variation is an efficient
   Ex-cell293TM (A) and 10 min after dilution (B). The transfected                  and reliable vector for large-scale TGE with HEK-293E cells
   cells were observed by confocal microscopy with the plasmid
                                                                                    in suspension. The results are expected to contribute to the
   membrane stained red, the PEI-FL in green, and genomic DNA
   stained blue. The scale bar represents 20 mm.                                    establishment of TGE as a valid method for the cGMP
                                                                                    production of recombinant proteins. In this regard, we
                                                                                    showed that about 70% of PEI remains in the CCM up to 10 d
                                                                                    post-transfection. Efficient protein purification from the
3 h post-transfection and then remained the same                                    CCM is a critical part of TGE and can determine a significant
(Figure 5B). Over time, the intracellular pDNA level                                proportion of the total manufacturing costs of the
increased (Figure 5B). Interestingly, about 30% of the                              recombinant protein.[43] Purification strategies that allow
transfected pXLGCHO-A2 was cell-associated by 3 h post-                             removal of PEI from the recombinant protein product are
transfection. This correlated with the percentage of cell-                          therefore critical for gaining regulatory approval of TGE
associated PEI-FL at this time (Figure 5A).                                         bioprocesses for commercial protein production.
   The results showed that about 70% of the transfected PEI
and pDNA remained in the CCM. The presence of PEI in the
CCM is a concern for the purification of secreted proteins                          Acknowledgements: The authors thank the Swiss Innovation
produced by TGE. However, in preliminary trials of protein                          Promotion Agency KTI/CTI for financial support (Project No
A-mediated affinity purification of recombinant IgG                                 10563.1) and Excellgene SA for pXLGCHO-A2. We thank Dr. Jan
                                                                                    Merna (ICT, Prague) for invaluable help with SEC analysis and
produced by transiently transfected HEK-293E cells, the                             Virginie Bachmann (LBTC, EPFL) for technical assistance.
PEI concentration in the eluent was below the LOD. These
results suggest that the elimination of PEI from the final
product will not be problematic, but more extensive studies
to confirm these results are underway. The experiments                              Received: October 13, 2011; Revised: December 23, 2011;
described here have shown that PEI-FL is a valuable                                 Published online: March 13, 2012; DOI: 10.1002/mabi.201100404
reagent to track the fate of PEI in TGE bioprocesses, from                          Keywords: linear poly(ethyleneimine); mammalian cells;
transfection through the downstream processing of the                               molecular weight distribution; recombinant proteins; transient
protein product.                                                                    gene expression



4. Conclusion

Large-scale TGE using PEI for pDNA delivery is one of two                            [1] M. A. Mintzer, E. E. Simanek, Chem. Rev. 2009, 109, 259.
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using three different synthesis lots of the same commercial                              High Throuput Screen. 2006, 9, 639.


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